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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION
                          CASE NO. 06-20385-CR-GRAHAM

  UNITED STATES OF AMERICA

           Plaintiff,
  vs.

  PEDRO HORTON, et al.,

           Defendants.

  ________________________/


          ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

     THIS CAUSE came before the Court upon the Motion to Dismiss for
  Pre-Indictment Delay (D.E.50), October 24, 2006.
        THE MATTER was referred to Magistrate Judge John J.

  O’Sullivan United States Magistrate Judge on November 7, 2006.

   A Report and Recommendation (D.E. 83), was filed on December 1,

  2006, recommended that the       Motion be Denied. The Defendant and

  the Government were afforded the opportunity to file objections

  to the Report and Recommendation. The Court has conducted a de

  novo review of the entire file. Accordingly, it is

        ORDERED AND ADJUDGED that the Report and Recommendation of
  United States Magistrate Judge John J. O’Sullivan, is hereby
  Adopted and Approved in its entirety.

        DONE AND ORDERED in Chambers at Miami, Florida, this 22nd day

  of February, 2007.



                                           DONALD L. GRAHAM
                                           UNITED STATES DISTRICT JUDGE
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  Copied: Magistrate Judge O’Sullivan
          David Markus, Esq.
          Cristina Maxwell, AUSA
